AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                      JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
          V.                                                                  (For Offenses Committed On or After November 1, 1987)



THOMAS NELSON CONNOR                                                          Case Num ber: DNCW 501CR000008-009
                                                                              USM Num ber: 17271-058

                                                                              Elizabeth Blackwood
                                                                              Defendant’s Attorney

THE DEFENDANT:

X         adm itted guilt to violation of condition(s) 1, 3, 4, 5, 6, 7 & 8 of the term of supervision.
          W as found in violation of condition(s) count(s)             After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):
                                                                                                     Date Violation
 Violation Num ber                    Nature of Violation                                            Concluded

 1                                    Failure to report to probation officer as instructed           1/12/12

 3                                    Failure to report to probation officer as instructed           10/14/11

 4                                    Failure to com ply with drug testing/treatm ent                8/8/11
                                      requirem ents

 5                                    Failure to com ply with drug testing/treatm ent                1/19/12
                                      requirem ents

 6                                    Failure to follow the instructions of the probation            5/23/11
                                      officer

 7                                    Failure to com ply with drug testing/treatm ent                8/25/11
                                      requirem ents

 8                                    Excessive alcohol use                                          8/2/11
       The Defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X         Violation num ber 2 is dism issed upon m otion of the U. S. Attorney.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                                              Date of Im position of Sentence: April 3, 2012
                                                                                 Signed: April 6, 2012




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                                                                  IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of TW ELVE (12) MONTHS AND ONE (1) DAY.

NO TERM OF SUPERVISED RELEASE TO FOLLOW TERM OF IM PRISONM ENT

X         The Court m akes the following recom m endations to the Bureau of Prisons:

That defendant be designated to Mecklenburg County Jail Central, Charlotte, NC, to participate in the substance abuse
treatm ent program s.

X         The Defendant is rem anded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               as notified by the United States Marshal.

                                at___a.m . / p.m . on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               as notified by the United States Marshal.

                                before 2 p.m . on ___.

                               as notified by the Probation Office.

                                                                        RETURN

          I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                              ___________________________________________
                    United States Marshal


                                                    By: _______________________________________
                                                                  Deputy Marshal




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                                                    STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2)
extend the term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance,
possession of a firearm and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)       ____________________________________ Date: _________________
                Defendant

(Signed)       ____________________________________ Date: _________________
                U.S. Probation Office/Designated W itness




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